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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                            Richmond Division

IV AN E. RAIKLIN,

                               Plaintiff,

v.                                                              Civil Action No. 3: 18-cv-288-JAG

VIRGINIA DEPARTMENT/BOARD
OF ELECTIONS, et al.,

                               Defendants.

                                                ORDER

        This matter is before the Court on defendants' motions to dismiss filed with proper

Roseboro notices on May 23 and May 24, 2018. (Dk. Nos. 7, 10.) The plaintiff never responded

to the two dispositive motions.         The Court hereby DISMISSES the case WITHOUT

PREJUDICE for failure to prosecute.

        According to the complaint, the defendants wrongfully prevented the plaintiff, Ivan

Raiklin, from appearing on the Republican primary ballot by refusing to properly count petition

signatures. Raiklin filed a motion for a preliminary injunction in which he asked that the Court

enjoin the defendants from printing ballots for the June 12, 2018, Republican primary without his

name listed as a candidate. The Court denied that motion based on laches.

        Raiklin refers to his counts as "issues" in his complaint and says that the defendants ( 1)

violated the Voting Rights Act, 42 U.S.C. § 10101 by keeping him off the ballot through an

improper signatures check; (2) violated the Fourteenth Amendment Equal Protection Clause by

treating him differently than other candidates; (3) violated the Fourteenth Amendment's Due

Process and Equal Protection clauses when they refused to hear his appeal of the Republican
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Party's decision to disqualify him; and (4) violated Virginia's First and Fourteenth Amendments

as well as Virginia Administrative Code by denying him the right to vote.          As relief for his

claims, Raiklin seeks (1) a preliminary injunction from printing ballots without his name, which

the Court denied, (2) an injunction to move the primary from June 12, 2018, until July 10, 2018;

(3) monetary damages in the amount of $350,000 based on a loss of campaign fundraising ability

while not on the ballot; (4) attorneys' fees in the amount of $10,000 and the filing fee of $400;

(5) $923 for the 9th Congressional District Database he purchased to try to verify his signatures;

and (6) $500 in travel expenses.

        Raiklin' s complaint brings a number of complicated constitutional claims, some of which

would require close inspection to decipher their parameters and evaluate their merits. The claims

for injunctive relief, however, failed based on the equitable theory of laches. Further, those two

claims are now moot in light of the fact that the primary has already occurred.           The non-

responsive plaintiff has therefore failed to show that a live controversy exists at this stage as to

claims related to injunctive relief.

        Raiklin seeks monetary damages as well, but his failure to respond to the motions to

dismiss leaves the Court with an inartfully plead complaint and no rebuttal from the plaintiff on

why his case should not be dismissed. Courts have the discretion to find that a plaintiff has

abandoned his claims where the plaintiff fails to respond to a dispositive motion. Walker v.

Mary Washington Healthcare, No. 3:15CV717, 2017 WL 3262252, at *5 (E.D. Va. July 31,

2017) (Lauck, J.) (collecting cases). In this case, because most of Raiklin's claims appear moot

and because he has taken more than twice the time permitted to respond to the defendants'

motions to dismiss, the Court will DISMISS this case WITHOUT PREJUDICE for a failure to

prosecute.



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      It is so ORDERED.

      Let the Clerk send a copy of this Order to all counsel of record.




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                                                          John A. Gibney, Jr.
Date: July°f , 2018                                       United States Dis ct J cl
Richmond , VA




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